                Case 2:20-cv-01323-RAJ Document 155 Filed 11/03/21 Page 1 of 4




                                                                                 Hon. Richard A. Jones
 1
                                                                                Hon. J. Richard Creatura
 2

 3

 4

 5

 6

 7
                                  IN THE UNITED STATES DISTRICT COURT
 8
                              FOR THE WESTERN DISTRICT OF WASHINGTON
 9

10
                                                    AT SEATTLE

11    EL PAPEL, LLC and BERMAN 2, LLC,                   )
                                                         )   Civil Action No. 2:20-cv-01323-RAJ-JRC
12
                                 Plaintiffs,             )
13                                                       )
                                v.                       )
14                                                       )   PLAINTIFFS’ FOURTH NOTICE OF
      ROBERT W. FERGUSON, in his official                )    SUPPLEMENTAL AUTHORITY IN
15
      capacity as Attorney General of the State of       )      SUPPORT OF MOTION FOR
16    Washington; JENNY A. DURKAN, in her                )        SUMMARY JUDGMENT
      official capacity as the Mayor of the City of      )
17    Seattle; and THE CITY OF SEATTLE, a                )
      municipal corporation,                             )
18
                                                         )
19                               Defendants.             )
                                                         )
20

21       Plaintiffs wish to notify the Court of a recent ruling from the Second Circuit Court of Appeals
22   in Melendez v. City of New York, No. 20-4238-cv, 2021 WL 4997666 (2d Cir. Oct. 28, 2021) which
23   is relevant to this dispute. The opinion is attached as Exhibit 1.
24       With respect to whether the eviction bans cause a substantial impairment under the Contract
25   Clause, see id. at *31: “[T]he practical likelihood of landlords such as plaintiff Bochner recovering
26   rent arrears from delinquent small business tenants appears speculative at best.” Compare with
27

28
     Pl.s’ 4th Not. of Supplemental Authority - 1                                  Pacific Legal Foundation
     Case No: 2:20-cv-01323-RAJ-JRC                                          255 South King Street, Suite 800
                                                                                  Seattle, Washington 98104
                                                                                             (425) 576-0484
                Case 2:20-cv-01323-RAJ Document 155 Filed 11/03/21 Page 2 of 4




 1   Def. City of Seattle’s Opening/Response Brief on Cross-Motions for Summ. J., Dkt. #103 at 13:
 2   “The enactments do not absolve tenants from their obligation to pay rent.”
 3       With respect to whether the eviction bans are an appropriate and reasonable means of
 4   addressing pandemic relief under the Contract Clause:
 5       •    See Melendez at *38: “Here too, the City did not afford Guaranty Law relief by
 6            appropriating existing funds or raising taxes so as to place the burden of preserving
 7            neighborhoods on the city that would benefit therefrom. Instead, it transferred the burden
 8            to the ‘few shoulders’ of commercial landlords. . . . [R]easonableness and appropriateness
 9            concerns are raised by a legislative decision to provide financial relief to certain persons
10            not through public funds but by destroying the contract expectations of other persons,
11            particularly persons not responsible for the circumstances warranting relief.” Compare
12            with Pls.’ Combined Response and Reply ISO Pls.’ Mot. for Summ. J., Dkt. #111 at 1:
13            “[T]his case is about whether Defendants can target one segment of society to carry a
14            disproportionate burden of the costs of [combatting the pandemic.] This they cannot do.”
15       •    See Melendez at *40: “[T]he failure to condition relief on guarantor need is a further reason
16            why the Guaranty Law cannot be deemed reasonable and appropriate to its public purpose
17            as a matter of law.” Compare with Dkt. #111 at 17: “The eviction bans are not precisely
18            and reasonably designed to meet the governments’ objectives because their protections
19            extend to those tenants who are not suffering financial hardship and are not at risk of
20            homelessness.”
21       •    See Melendez at *41: “[T]he reasonableness of the Guaranty Law as a means to serve the
22            City’s stated public purpose is also called into question by the law’s failure to provide for
23            landlords or their principals to be compensated for damages or losses sustained as a result
24            of their guaranties’ impairment.” Compare with Pls.’ Mot. for Summ. J., Dkt. #93 at 15:
25            “The eviction bans fail to provide an enforceable requirement that tenants protected from
26            eviction pay anything during the interim as a condition of that protection.”
27

28
     Pl.s’ 4th Not. of Supplemental Authority - 2                                   Pacific Legal Foundation
     Case No: 2:20-cv-01323-RAJ-JRC                                           255 South King Street, Suite 800
                                                                                   Seattle, Washington 98104
                                                                                              (425) 576-0484
                Case 2:20-cv-01323-RAJ Document 155 Filed 11/03/21 Page 3 of 4




 1            DATED: November 3, 2021.
 2            Respectfully submitted,
 3
      s/ ETHAN W. BLEVINS                                        s/ KATHRYN D. VALOIS
 4    s/ BRIAN T. HODGES                                         Kathryn D. Valois*
      Ethan W. Blevins, WSBA # 48219                             Fla. Bar. No. 1010150
 5    Brian T. Hodges, WSBA # 31976                              Pacific Legal Foundation
      Pacific Legal Foundation                                   4440 PGA Blvd., Suite 307
 6
      255 South King Street, Suite 800                           Palm Beach Gardens, Florida 33410
 7    Seattle, Washington 98104                                  Telephone: (561) 691-5000
      Telephone: (425) 576-0484                                  Email: KValois@pacificlegal.org
 8    Email: EBlevins@pacificlegal.org
 9
      Email: BHodges@pacificlegal.org                            * Pro hac vice

10
                                                    Attorneys for Plaintiffs
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
     Pl.s’ 4th Not. of Supplemental Authority - 3                                        Pacific Legal Foundation
     Case No: 2:20-cv-01323-RAJ-JRC                                                255 South King Street, Suite 800
                                                                                        Seattle, Washington 98104
                                                                                                   (425) 576-0484
                Case 2:20-cv-01323-RAJ Document 155 Filed 11/03/21 Page 4 of 4




                                           CERTIFICATE OF SERVICE
 1

 2            I hereby certify that on November 3, 2021, I electronically filed the foregoing with the

 3   Clerk of the Court using the CM/ECF system which will send notification of such filing to all
 4
     counsel of record.
 5
                                                    s/ ETHAN W. BLEVINS
 6                                                  Ethan W. Blevins, WSBA # 48219
 7
                                                    Attorney for Plaintiffs
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
     Pl.s’ 4th Not. of Supplemental Authority - 4                                   Pacific Legal Foundation
     Case No: 2:20-cv-01323-RAJ-JRC                                           255 South King Street, Suite 800
                                                                                   Seattle, Washington 98104
                                                                                              (425) 576-0484
